
PER CURIAM.
By petition for a writ of certiorari we are requested to review a decision of the Court of Appeal, Third District because of an alleged conflict on the same point of law with a decision of another Court of Appeal. City of Miami v. Allen, 158 So.2d 580.
The District Court here affirmed a judgment in the trial court on the authority of its own decision in Simpson v. City of Miami, et al., Fla.App., 155 So.2d 829.
It is contended that because of its reliance upon Simpson the instant decision conflicts with the decision of the Court of Appeal, First District, in Middleton v. City of Fort Walton Beach, Fla.App., 113 So.2d 431, and similar cases.
We have approved the decision of the District -Court in Simpson. See City of Miami v. Simpson, Fla., 172 So.2d 435, opinion filed 17th day of Februray, 1965. On authority of this opinion, the writ is denied.
It is so ordered.
DREW, C. J., and THOMAS, ROBERTS, THORNAL, O’CONNELL and ERVIN, JJ., concur.
